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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
               Plaintiff,                          )       18 CR 611
                                                   )       Judge Ronald A. Guzman
v.                                                 )
                                                   )
JI CHAOQUN                                         )
                                                   )
               Defendant.                          )

                            DEFENDANT’S REPLY IN SUPPORT OF HIS
                             MOTION FOR A BILL OF PARTICULARS

       Defendant, Ji Chaoqun, by and through his attorneys, the Law Office of Damon M.

Cheronis, respectfully submits the following reply in support of his motion for a bill of particulars.

I.     Introduction

       On January 24, 2019, the grand jury returned a six count indictment charging Mr. Ji with

one count of engaging in a conspiracy to violate the laws of the United States in violation of 18

U.S.C. § 371, one count of failing to register as a foreign agent in violation of 18 U.S.C. § 951(a),

three counts of wire fraud in violation of 18 U.S.C. § 1343, and one count of making a false

statement in violation of 18 U.S.C. § 1001(a)(2). Dkt. # 32.

       On December 6, 2019, counsel filed a motion for a bill of particulars on behalf of Mr.

Chaoqun requesting the government identify the following in a bill of particulars:

       i. Count One (18 U.S.C. § 371)

           a. Identify any and all other individuals the government considers to be
              members of the alleged conspiracy, or “co-conspirators,” further identifying
              with specificity their involvement or role in the conspiracy;

           b. Identify the nature and scope of the conspiratorial agreement above and
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         beyond that contemplated by the substantive offense, including its object,
         any and all overt acts or series of acts Mr. Ji or others are alleged to have
         carried out in furtherance of the conspiracy, the manner and means through
         which Mr. Ji or others are alleged to have carried out the conspiracy, further
         including the date, time, location, and circumstances of such acts;

     c. and identify with specificity the manner and means, including the date, time,
        location, and circumstances through which Mr. Ji is alleged to have
        concealed, misrepresented, and hid and caused to be concealed,
        misrepresented, and hidden the existence and purpose of the conspiracy and
        the acts done in furtherance of the conspiracy.

  ii. Count Two (18 U.S.C. § 951)

     a. Identify with specificity any and all “acts” Mr. Ji is alleged to have performed
        as an unregistered foreign agent, including the date, time, location, and
        circumstances of such act;

     b. Identify any and all foreign officials under whose “direction and control” Mr.
        Ji is alleged to have acted;

     c. Identify with specificity the manner and means through which any and all
        foreign officials directed and controlled Mr. Ji’s alleged actions, including the
        date, time, location, and circumstances of such act;

     d. and identify with specificity the factual grounds supporting the assertion that
        Mr. Ji “knowingly” acted as an unregistered foreign agent.

  iii. Counts Three, Four, and Five (18 U.S.C. § 1343)

     a. Identify any and all other individuals the government considers to be
        members of the alleged scheme, or “co-schemers,” further identifying with
        specificity their involvement or role in the alleged scheme;

     b. Identify with specificity the manner and means through which Mr. Ji“devised
        and intended to device, and participated in” the alleged fraud scheme,
        including the date, time, location, and circumstances;

     c. and identify with specificity any and all overt acts or series of acts Mr. Ji or
        others are alleged to have carried out in furtherance of the alleged scheme;
        further including any and all false statements Mr. Ji is alleged to have made
        in furtherance of the alleged scheme; further including the manner and
        means through which Mr. Ji is alleged to have concealed, misrepresented and
        hid, and caused to be concealed, misrepresented and hidden, the existence



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                and purpose of the scheme, and acts done in furtherance of the scheme,
                including the date, time, location and circumstances.

        iv. Count Six (18 U.S.C. § 1001(a)(2))

            a. Identify with specificity the factual grounds supporting the assertion that the
               alleged false statements were “material” to the United States Department of
               Army’s background investigation;

            b. identify any and all “other” material false statements Mr. Ji is alleged to have
               made in relation to the United States Department of Army’s background
               investigation, including the date, time, location and circumstances of any
               such statement; and

            c. identify with specificity the factual grounds supporting the assertion that Mr.
               Ji knew the statement to be false.

        On January 27, 2020, the government filed its response in opposition arguing, in summary,

that “the indictment is lengthy and detailed and thus sufficiently specific to inform [Mr. Chaoqun]

of the charges against him.” Dkt. # 78.

        Counsel hereby submits this reply on behalf of Mr. Ji in order to clarify and address the

arguments raised by the government in its response.

II.     Discussion

        As noted above, in its brief response, the government principally argues that the amount of

detail contained in the indictment is sufficiently detailed to obviate the need for a bill of particulars.

While the government focused on the Due Process concern of apprising Mr. Ji of the nature of the

allegations against him, the government’s reply said virtually nothing regarding the protections

against double jeopardy that a bill of particulars has long been recognized to afford defendants.

        As counsel previously noted, that concern is particularly present here, given that 18 U.S.C.

§ 951 § 951 criminalizes “any affirmative conduct undertaken as an agent of a foreign government.”

United States v. Duran, 596 F.3d 1291 (11th Cir. 2010) (emphasis added); see also United States v.



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Campa, 529 F.3d 980, 999 (11th Cir. 2008) (finding § 951 to set forth a general intent crime). On

this point, counsel cited a wide and varied cross-section of cases from across the country that

demonstrate the broad, even inconceivable number of possible “acts” that give rise to a potential §

951 violation. See, e.g., United States v. Latchin, 554 F.3d 709, 715 (7th Cir. 2009) (emphasis added)

(upholding a conviction where the defendant accepted money and placed 39 telephone calls to a

foreign intelligence agent; United States v. Dumeisi, 424 F.3d 566 (7th Cir. 2005) (American citizen

convicted for sending phone records and summaries of public speeches of Iraqi opposition group to

Iraqi government) ); United States v. Ying-Lin, 2018 WL 3416524, *4-5 (E.D.N.Y. 2018) (upholding

an indictment where an airline employee smuggled luggage to China despite no evidence of the

contents of the luggage).

        As a result, counsel requested the government identify various particulars with respect to the

“acts” and conspiracy alleged in counts one and two. Absent specificity necessarily and best provided

in a bill of particulars, any and all alleged “acts” of Mr. Ji, undertaken on behalf of a foreign

government and official, and without prior notice to the Attorney General, places him in actual

jeopardy—and twice over—given the indictment’s lacking specifics.

        The government also made reference to the fact that “voluminous discovery” has been

provided to date, and that this fact further obviates the need for a bill of particulars. Dkt. # 78 p. 7.

While counsel does not dispute this characterization, it should be noted that this reality in no way

mitigates the danger of double jeopardy, and further, the fact that the government has produced a

voluminous amount of discovery often gives rise to the need to provide more particulars about the

nature of an offense. See, e.g., United States v. Bin Laden, 92 F. Supp. 2d 225, 234 (S.D.N.Y. 2000)

(“[t]he line that distinguishes one defendant's request to be apprised of necessary specifics about the




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charges against him from another's request for evidentiary detail is one that is quite difficult to draw.

It is no solution to rely solely on the quantity of information disclosed by the government;

sometimes, the large volume of material disclosed is precisely what necessitates a bill of particulars”).

         Finally, counsel notes that despite multiple and narrow requests for particulars on each

count of the indictment, the government has not responded to those requests in their specificity.

Counsel will nonetheless highlight again that the request for a bill of particulars cannot be judged

in a vacuum. In this case, the government has alleged an expansive timeframe in which the wider

conspiracy unfolded—over five years for counts one and two—and that fact, when coupled with the

unusual level of generality accompanying the allegations, and the substantially broad reach and

vagueness of § 951, demonstrates the substantial need for a bill of particulars.

III.     Conclusion

         Based on the foregoing, and the reasons set forth more fully in Mr. Ji’s initial motion, and

to apprise him of the scope and nature of the charges against him, allow him and counsel to

effectively prepare a defense to those charges, and to create a record so as to protect Mr. Ji from

being placed in jeopardy twice over, counsel respectfully requests that the Court order the

government to produce a bill of particulars as requested.




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                                             Respectfully submitted,

                                             /s/ Damon M. Cheronis
                                             Damon M. Cheronis

                                             /s/ Ryan J. Levitt
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                              CERTIFICATE OF SERVICE

I, Damon M. Cheronis, hereby certify that on February 18, 2020 I electronically filed the foregoing
Defendant’s Reply in Support of his Motion for a Bill of Particulars with the Clerk of the U.S.
District Court for the Northern District of Illinois, Eastern Division, by using the CM/ECF system.
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.



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